           Case 4:25-cv-03549-JSW     Document 31     Filed 05/12/25   Page 1 of 6




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   Attorneys for Defendants
 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                          OAKLAND DIVISION
11
   ARYAN SHAH,
12                                              Case No.: 4:25-cv-3549-JSW
   RAMYA KRISHNA KAMATHAM,                       ORDER GRANTING
13                                              AMENDED STIPULATION RE: RE-
   ARINDAM ROY,                                 ACTIVATION OF SEVIS RECORDS AND
14                                              DISMISSAL; [PROPOSED] ORDER
   ARAVIND THIRUNAVUKKARASU,
15
   REZVAN GOLMORADIZADEH,
16
   FARREL GOMARGANA,
17
   MENGQUN YU,
18
   BHAVYA ALPESHKUMAR PATEL,
19
   MINCHUAN WU,
20
   PING-JUI LIAO,
21
   SAI VENKATA RITHIK ANTHAM,
22
   SHIREESH KUMAR GADIDESI,
23
   JUILY MAHORE,
24
   DORCAS OFORI AIDOO,
25
   GM SHASHI,
26
   SONA NIKITHA BOLLAVARAM,
27
   SARATH BODDU,
28
     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3549 JSW                         1
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           Case 4:25-cv-03549-JSW     Document 31     Filed 05/12/25   Page 2 of 6




 1   ADESOLA ADEYEMI,

 2   PRAVEEN PILYANAM,

 3   ZHAOHUA ZHANG,

 4   ABIODUN OSENI,

 5   ABDLRAHMAN ALABDALLAH,

 6   NAGA SWAROOP KOTA,

 7   AYWAN DAS,

 8   ANUP MISHRA,

 9   REBIKA BASNET,

10   TAJRIAN KAMAL,

11   SAKETH PARUCHURI,

12   APOORV PANDKAR,

13   EKUNDAYO ALABI,

14   NITISH REDDY DAKURI,

15   JUDITH IHUOMA EWUZIE,

16   NATALIA JOSEFINA MARTINEZ
     URMENETA,
17
     SHARVANI BOLLA,
18
     VIKAS REDDY AMARAVATHI,
19
     BHAVIN PATEL,
20
     RITESH KARNAM,
21
     SURESH BABU GADIPARTHI,
22
     YIZHOU CHEN,
23
     NIKHIL CHOWDARY BONTHU,
24
     OJASVI AGRAWAL,
25
     PAVAN KALYAN REDDY METTUPALLI,
26
     PAVAN KUMAR JALIPARTHY,
27
     SHAHBAZ KHAN,
28
     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3549 JSW                         2
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            Case 4:25-cv-03549-JSW         Document 31   Filed 05/12/25   Page 3 of 6




 1   SRINIVASA SAI ANUDEEP GADI,

 2   MAJID ALFIFI,

 3   RAHUL CHERUKURI,

 4   CHANG JOON AHN,

 5   MARIA JOSE ARIAS SAAVEDRA,

 6   SANTOSH KUMAR BAMMIDI,

 7   UKJIN CHOI,

 8   ARMAAN CHOWDHRY,

 9   SUMAN GUGULOTHU,

10   VOMSREEMANASA JALLI
     VENKATARAMANA,
11
     SARTHAK SANJAY KORE,
12
     JUAN PABLO LOPEZ ORDONEZ,
13
     TABREZ KHAN MOHAMMAD,
14
     ONKAR ASHOK MOHITE,
15
     SOUMITRA PALIT,
16
     ARSHROOP SAINI,
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     ANIL KUMAR SHARMA,
18
     NENGKE LIN,
19
     HUANYANG HE,
20
     SEUNG JIN KIM, and
21
     MAHAN NASERI
22
                      Plaintiffs,
23
               v.
24
     TODD M. LYONS, in his official capacity as
25   Acting Director of United States Immigration
     and Customs Enforcement,
26
                      Defendant.
27

28
     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3549 JSW                         3
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            Case 4:25-cv-03549-JSW            Document 31         Filed 05/12/25      Page 4 of 6




 1

 2
            Plaintiffs and Defendant hereby stipulate to the following:
 3
            1.      The Student and Exchange Visitor Information System (“SEVIS”) record for each
 4
     Plaintiff in this case has been set back to “active” by the Student and Exchange Visitor Program
 5
     (“SEVP”) within Homeland Security Investigations (“HSI”) at U.S. Immigration and Customs
 6
     Enforcement (“ICE”).1
 7
            2.      The reactivation of each Plaintiff’s SEVIS record shall be considered retroactive to the
 8
     date of its initial termination, such that there is no gap or lapse in the Plaintiff’s SEVIS record.
 9
     Although the event history will memorialize whatever modifications are made to the SEVIS account, the
10
     effect of this retroactive activation is as though the termination did not happen.
11
            3.      To the extent any Plaintiff is participating in Optional Practical Training (“OPT”), or
12
     Science, Technology, Engineering and Math (“STEM”) OPT, or Curricular Practical Training (“CPT”),
13
     any authorization end date for OPT, STEM OPT, or CPT has been reset to the end date set forth in the
14
     Plaintiff’s SEVIS record before its termination.
15
            4.      ICE will not, under its new SEVIS policy announced April 26, 2025, re-terminate the
16
     Plaintiffs’ SEVIS records based solely on the National Crime and Information Center (“NCIC”) record
17
     that led to the initial termination or on any related prudential visa revocation that is effective upon
18
     departure (as set forth in Paragraph 5). However, ICE maintains the authority to terminate a SEVIS
19
     record for other reasons, such as if a student fails to maintain his or her nonimmigrant status after the
20
     record is reactivated or engages in other unlawful activity that would render him or her removable from
21
     the United States under the Immigration and Nationality Act (“INA”).
22
            5.      As stated in ICE’s new policy, “if State revokes a nonimmigrant visa eﬀective
23
     immediately, SEVP may terminate the nonimmigrant’s SEVIS record based on the visa revocation with
24
     immediate eﬀect, as such a revocation can serve as a basis of removability under INA § 237(a)(1)(B).”
25

26
            Plaintiffs Nikhil Bonthu and Suman Gugulothu currently are in “initial” status in SEVIS
            1

27 because they  recently transferred to new schools and filed for reinstatements while their SEVIS records
   were terminated. These two plaintiffs’ SEVIS records will become “active” once their school transfers
28 are complete.
     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3549 JSW                         4
30
            Case 4:25-cv-03549-JSW           Document 31         Filed 05/12/25      Page 5 of 6




 1 A visa revocation that is effective upon departure rather than immediately does not establish

 2 removability under INA § 237(a)(1)(B), and therefore is not, in itself, a basis for termination of the

 3 SEVIS record under the new SEVIS policy.

 4          6.      Pursuant to INA § 221(i), notice of a visa revocation must be communicated to the

 5 Department of Homeland Security. DHS has not received any communication from the Department of

 6 State that the visas of any of the Plaintiffs in this action have been revoked with immediate effect.

 7          7.      The termination and reactivation of a Plaintiff’s SEVIS record by SEVP, as set forth in

 8 Paragraph 1 of this Stipulation, will not, in itself, have a negative impact on the adjudication of any

 9 benefit request by United States Citizenship and Immigration Services (“USCIS”). If, while

10 adjudicating an immigration benefit request, USCIS finds that an F-1 nonimmigrant’s SEVIS record was

11 terminated and then reactivated by ICE, USCIS will continue processing the benefit request according to

12 all applicable laws, regulations, policies, and procedures.

13          8.      To the extent USCIS issues a request for evidence, notice of intent to deny, or denial

14 based in whole or part on the termination and reactivation of the Plaintiff’s SEVIS record, counsel for

15 Defendant agrees to cooperate with Plaintiff’s counsel to ensure USCIS is aware of this Stipulation and

16 its terms in connection with its consideration or reconsideration of any Plaintiff’s benefits request.

17          9.      Defendants shall communicate this Stipulation to the Department of State.

18 Plaintiffs shall dismiss this action with prejudice.

19

20 Dated: May 12, 2025                                    Respectfully submitted,2

21                                                        PATRICK D. ROBBINS
                                                          Acting United States Attorney
22

23                                                        _s/ Elizabeth D Kurlan_______
                                                          ELIZABETH D. KURLAN
24                                                        Assistant United States Attorney

25                                                        Counsel for Defendant

26
27          2
            In accordance with Civil Local Rule 5-1(i)(3), the filer of this document attests that all
28 signatories listed herein concur in the filing of this document.
     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3549 JSW                         5
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           Case 4:25-cv-03549-JSW          Document 31        Filed 05/12/25     Page 6 of 6




 1 Dated: May 12, 2025                                    s/ Steven A. Brown
                                                        STEVEN A. BROWN
 2                                                      Reddy Neumann Brown PC
                                                        Pro Hac Vice
 3
                                                        Counsel for Plaintiffs
 4

 5

 6
                                            [PROPOSED] ORDER
 7
           Pursuant to the parties’ stipulation, IT IS SO ORDERED. The Clerk shall close this file.
 8
     Date: May 12, 2025
 9
                                                        ________________________________
10                                                      JEFFREY S. WHITE
                                                        United States District Judge
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     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3549 JSW                         6
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